                                                                                                       Electronically Filed - Jackson - Kansas City - July 30, 2018 - 05:19 PM
                                                                                1816-CV19818

   IN THE 16TH JUDICIAL CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                            AT KANSAS CITY

 J.T. HAND, individually and on behalf
 of all others similarly situated,

                           Plaintiff,                  Case No.:

 vs.

 ARB KC, LLC                                           Division:
 d/b/a ANGELS ROCK BAR
 Serve at Registered Agent:
     CSC-Lawyers Incorporating Service
     Company                                           JURY TRIAL DEMANDED
     221 Bolivar Street
     Jefferson City, MO 65101

                           Defendant.


                    CLASS ACTION PETITION FOR DAMAGES {X1}

       Plaintiff J.T. Hand, individually and on behalf of all others similarly situated, brings this

action against Defendant ARB KC, LLC d/b/a Angels Rock Bar (“Angels Rock Bar”) to secure

redress for Angels Rock Bar’s practice of sending text messages to cellular telephone numbers in

violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. Plaintiff,

for his class action Petition, alleges as follows based upon personal knowledge as to himself and

his own acts and experiences, and as to all other matters, upon information and belief, including

investigation conducted by counsel:

                              PARTIES, JURISDICTION, AND VENUE

       1.     At all times relevant hereto, Plaintiff Hand has been a resident of Jackson County,

Missouri.

       2.     Defendant Angels Rock Bar is a Missouri limited-liability company with its

principal place of business at 1323 Walnut Street, Kansas City, Missouri 64105.


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        3.      Defendant Angels Rock Bar can be served through its registered agent CSC-

Lawyers Incorporating Service Company, 221 Bolivar Street, Jefferson City, Missouri 65101.

        4.      Pursuant to RSMo § 506.500, jurisdiction is proper in this Court because Defendant

has transacted business in Jackson County, Missouri and/or because the tortious acts complained

of in this Petition occurred in Jackson County, Missouri.

        5.      Pursuant to RSMo § 508.010, venue is proper in this Court because the tortious acts

complained of herein arose and took place within Jackson County, Missouri, the transactions at

issue or some part of the transactions took place within Jackson County, Missouri, and/or Plaintiff

was first injured in Jackson County, Missouri.

        6.      Further, jurisdiction and venue are proper pursuant to 47 U.S.C. § 227(b)(3), which

grants state courts jurisdiction over actions alleging violations of 47 U.S.C § 227. On information

and belief, Angels Rock Bar has sent the same or similar text messages complained of by Plaintiff

to others within this judicial district, such that a substantial portion of the events giving rise to this

cause of action occurred here.

        7.      In addition, Angels Rock Bar also transacts significant amounts of business within

this district, solicits customers here, directs telephone calls and text messages here – including to

the cellular telephone numbers of Plaintiff and others with area codes specific to Jackson County,

Missouri, 1 and enters into consumer and business contracts here, thereby subjecting it to the

jurisdiction of this Court.




1
        See Lowe v. CVS Pharmacy, Inc., 233 F. Supp. 3d 636, 643 (N.D. Ill. 2017) (placing a call to a
        phone number with an Illinois-affiliated area code constitutes “purposeful direction” warranting
        the Court’s exercise of jurisdiction) (citing Keim v. ADF Midatlantic, 199 F. Supp. 3d 1362, 1370
        (S.D. Fl. 2016) (collecting cases)).


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                                     NATURE OF THE ACTION

        8.     Angels Rock Bar is a drinking establishment.

        9.     Between July 30, 2014 and April 4, 2018, in order to advertise and market its

products and services, to increase revenue, to expand its customer base, and to pursue other

marketing objections, Angels Rock Bar caused advertising and/or telemarketing text messages to

be sent to the cellular telephones of Plaintiff and the putative class members in violation of the

TCPA.

        10.    Specifically, Angels Rock Bar (either directly or through a third-party telemarketer)

sent unsolicited text messages to the cellular telephones of Plaintiff and the putative class members

promoting specials and events at the Angels Rock Bar and encouraging Plaintiff and the putative

class members to visit Angels Rock Bar with their friends or associates.

        11.    By sending the text messages at issue in this Petition, Angels Rock Bar has caused

Plaintiff and the putative class members (as defined herein) actual harm.

        12.    On information and belief, Angels Rock Bar routinely sends these text messages

despite the fact that Plaintiff and the putative class members:

               (a)     never provided prior express consent in writing, or otherwise, for Angels

                       Rock Bar to send advertising or telemarketing text messages to their cellular

                       telephone numbers; and/or

               (b)     never provided prior express consent in writing, or otherwise, for Angels

                       Rock Bar to send text messages to their cellular telephone numbers using

                       an automatic telephone dialing system (as defined by the TCPA).

        13.    Angels Rock Bar also sent such advertising and/or telemarketing text messages to

Plaintiff and other putative class members even though (i) it failed to establish written policies and



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procedures to ensure compliance with the national and/or internal do-not-call rules and regulations,

and train its staff in compliance with such policies and procedures, (ii) Plaintiff and other putative

class members have registered their telephone numbers on the national do-not-call registry, and/or

(iii) Plaintiff and other putative class members have requested that Angels Rock Bar stop sending

such text messages or place their telephone numbers on its internal do-not-call list.

       14.     Plaintiff, on his own behalf and on behalf of all others similarly situated, brings the

instant lawsuit seeking an injunction requiring Angels Rock Bar to cease all unsolicited text

message activities and for an award of statutory damages to Plaintiff and members of the putative

class under the TCPA.

                    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
                                47 U.S.C. § 227, et seq.

       15.     Advancements in telephone dialing technology since the 1980s and 90s have made

reaching a large number of consumers by telephone easier and more cost-effective. However, this

technology has also brought with it an onslaught of unsolicited robocalls, spam text messages, and

junk faxes that intrude on individual privacy and waste consumer time and money.

       16.     Senator Hollings, sponsor of the TCPA, described such marketing practices as “the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at night;

they force the sick and elderly out of bed; they hound us until we want to rip the telephone out of

the wall.” 137 Cong. Rec. 30, 821 (1990).

       17.     The FCC recently noted, “every month, U.S. consumers are bombarded by an

estimated 2.4 billion robocalls.” In the Matter of Advanced Methods to Target and Eliminate

Unlawful Robocalls, Notice of Proposed Rulemaking, Statement of Chairman Pai, 32 FCC Rcd.

2306, 2331 (2017) (emphasis added). That number has since increased to an estimated 2.5 billion




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robocalls per month as of October 2017.2

       18.     In response to these unwanted telephone calls, text messages, and junk faxes, the

federal government and numerous states have enacted legislation to combat these widespread

telemarketing abuses. As Congress recognized:

               Many customers are outraged over the proliferation of intrusive,
               nuisance calls to their homes from telemarketers. … Banning such
               automated or prerecorded telephone calls to the home, except when
               the receiving party consents to receiving the call or when such calls
               are necessary in an emergency situation affecting the health and
               safety of the consumer, is the only effective means of protecting
               telephone consumers from this nuisance and privacy invasion.

Pub. L. No. 102-243 §§ 2(6) & (12) (1991), codified at 47 U.S.C. § 227 (emphasis added).3

       19.     As is relevant here, the TCPA prohibits “mak[ing] any call (other than a call made

for emergency purposes or made with the prior express consent of the called party) using any

automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

number assigned to a … cellular telephone service, …” 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R.

§ 64.1200(a)(1).

       20.     For purposes of the TCPA, “[a] text message to a cellular telephone … qualif[ies]

as a ‘call’ within the compass of § 227(b)(1)(A)(iii).” Campbell-Ewald Co. v. Gomez, 136 S. Ct.

663, 667 (2016) (citation omitted).4


2
       See In the Matter of Advanced Methods to Target and Eliminate Unlawful Robocalls, Report and
       Order and Further Notice of Proposed Rulemaking, Statements of Commissioners Clyburn and
       Rosenworcel, 32 FCC Rcd. 9706, 9756 & 9759 (2017).
3
       See also Zean v. Fairview Health Servs., 858 F.3d 520, 522-23 (8th Cir. 2017) (“Recognizing that
       automated calls are often a nuisance and an invasion of privacy, Congress passed the TCPA to
       balance individuals’ privacy rights, public safety interests, and commercial freedoms of speech and
       trade.”) (internal citations and quotation marks omitted).
4
       See also In re Rules and Regulations Implementing the Telephone Consumer Protection Act of
       1991, Order, 30 FCC Rcd. 12484, 12485, ¶ 3 (2016) (the TCPA’s prohibition on robocalls
       “encompasses both voice and text calls, including short message service (SMS) calls and text calls
       and text calls made using Internet-to-phone technology, …”).


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       21.     “Automatic telephone dialing system” (“ATDS”) refers to any equipment that has

the “capacity to dial numbers without human intervention[.]” Griffith v. Consumer Portfolio Serv.,

Inc., 838 F. Supp. 2d 723, 726 (N.D. Ill. 2011) (citing In re Rules & Regulations Implementing the

TCPA of 1991, 18 FCC Rcd. 14014, 14092, ¶ 132 (2003) (“2003 TCPA Order”)).

       22.     In 2012, the FCC – the agency tasked with promulgating the implementing

regulations of the TCPA – revised its TCPA rules to require prior express written consent before

initiating a telephone call “that includes or introduces an advertisement or constitutes

telemarketing[.]” 47 C.F.R. § 64.1200(a)(2); In re Joint Petition filed by Dish Network, LLC, 28

FCC Rcd. 6574, 6589, ¶ 37 & fn. 113 (2013) (“Dish Network Ruling”).

       23.     According to FCC regulations, “prior express consent” must (i) be in writing; (ii)

be signed by the person providing the consent; (iii) clearly authorize the calling party to use an

ATDS or artificial or pre-recorded voice; (iv) specify the telephone number to which the person is

consenting to be called; and (v) not be a condition of purchasing any goods or services. In the

Matter of Rules and Regulations Implementing the TCPA of 1991, FCC Report and Order, 27 FCC

Rcd. 1830, 1843, ¶ 32 (2012) (“2012 TCPA Order”).

       24.     In 2003, the FCC adopted a national do-not-call registry to provide consumers with

an option to prohibit unwanted telemarketing solicitations. 2003 TCPA Order at 14034-35, ¶ 28.

       25.     The FCC rules also prohibit any person or entity from initiating a telemarketing

solicitation to any “residential telephone subscriber who has registered his or her telephone number

on the national do-not-call registry of persons who do not wish to receive telephone solicitations

that is maintained by the Federal Government.” 47 C.F.R. § 64.1200(c)(2). For purposes of this

provision of the TCPA, wireless subscribers who are registered on the national do-not-call list are

presumed to be “residential subscribers.” 2003 TCPA Order at 14038-39, ¶ 36.



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          26.   The FCC rules also require telemarketers to maintain a company-specific internal

do-not-call list, to immediately record a consumer’s do-not-call request, and to cease any further

telemarketing calls within thirty days of such request. 47 C.F.R. § 64.1200(d)(3).

          27.   The FCC’s regulations define “advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services.” 47 C.F.R. § 64.1200(f)(1).

Whether a call is an “advertisement” depends on the content of the material. Golan v. Veritas

Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

          28.   “Telemarketing” is defined as “the initiation of a telephone call or message for the

purpose of encouraging the purchase or rental of, or investment in, property, goods, or services,

which is transmitted to any person.” 47 C.F.R. § 64.1200(f)(12). The “telemarketing” inquiry

focuses on the purpose of the telephone call or message, rather than its content. Golan, 788 F.3d

at 820.

          29.   The FCC has also made rulings regarding the TCPA’s vicarious liability standards

as they relate to telemarketing. As early as 1995, the FCC stated that “[c]alls placed by an agent

of the telemarketer are treated as if the telemarketer itself placed the call.” In re Rules and

Regulations Implementing the TCPA of 1991, 10 FCC Rcd. 12391, 12397 (1995).

          30.   The FCC has also clarified that vicarious liability is imposed under federal common

law principles of agency for violations of either sections 227(b) or (c) that are committed by third-

party telemarketers. Dish Network Ruling at 6580 & ¶ 18.

          31.   The TCPA provides for injunctive relief and the greater of actual damages or $500

per violation, which may be trebled where defendant’s conduct was done willfully or knowingly.

47 U.S.C. §§ 227(b)(3) and (c)(5).




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                       FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       32.     Between July 30, 2014 and April 4, 2018, Angels Rock Bar and/or its agents

utilized an ATDS to send text messages to the wireless telephone numbers of Plaintiff and the

putative class members.

       33.     Specifically, the hardware and software used by Angels Rock Bar and/or its agents

has the capacity to generate and store random numbers, or store lists of telephone numbers, and to

dial those numbers, en masse, in an automated fashion without human intervention.

       34.     Plaintiff and the putative class never provided prior express consent, in writing or

otherwise, for Angels Rock Bar to send autodialed, advertising, and/or telemarketing text messages

to their cellular telephone numbers.

       35.     Angels Rock Bar (i) requires consumers or businesses to provide their telephone

numbers as a condition of providing happy-hour goods and services, (ii) does not advise consumers

or businesses it intends to send autodialed, advertising, and/or telemarketing text messages to their

cellular telephone number, and (iii) does not obtain prior express consent, written or otherwise, to

send autodialed, advertising, and/or telemarketing text messages to the consumer’s or business’s

cellular telephone number.

       36.     When Angels Rock Bar obtains the cellular telephone number of a consumer or

business, it adds it to a stored list of numbers to which Angels Rock Bar and/or its agents repeatedly

send autodialed, advertising, and/or telemarketing text messages.

       37.     Angels Rock Bar’s text messages are sent with equipment having the capacity to

dial numbers without human intervention, the equipment is unattended by human beings, and the

equipment does, in fact, send text messages automatically, i.e., without human intervention.

       38.     The equipment employed by Angels Rock Bar and/or its agents not only has the



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capacity to store or produce telephone numbers to be called using a random or sequential number

generator (and to dial such numbers) but was programmed to sequentially or randomly access

stored telephone numbers to automatically send text messages to those numbers.

       39.       The text messages sent by Angels Rock Bar to Plaintiff and the putative class were

made for a commercial purpose in that they contain its brand name and location, they promote

specials and events at Angels Rock Bar, and/or they encourage Plaintiff and the putative class

members to visit Angels Rock Bar with their friends or associates.

       40.       Angels Rock Bar’s text messages are advertisements and/or constitute

telemarketing as defined by the TCPA.

       41.       Not only does Angels Rock Bar fail to obtain prior express consent before sending

such text messages, Angels Rock Bar’s text messages do not provide a way of opting out of future

text messages.

       42.       Angels Rock Bar’s text messages do not sufficiently identify the name of the

individual caller, and do not provide a (working) telephone number5 or address at which the person

or entity may be contacted.

       43.       Angels Rock Bar sent such advertising and/or telemarketing text messages without

first establishing written policies or procedures to ensure compliance with the national and/or

internal do-not-call rules and regulations, as required by 47 C.F.R. § 64.1200(d), and Angels Rock




5
       Angels Rock Bar’s text messages do not provide a telephone number, toll-free or otherwise, for
       consumers and businesses to call in order to opt out of future text messages. Additionally, if you
       call the telephone number Angels Rock Bar used to text Plaintiff’s cellular telephone number, you
       are greeted with a message that states, “Your call cannot be completed as dialed. Please check the
       number as dialed. 052T.”



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Bar failed to train its staff in compliance with any such policies and procedures.6

       44.     Angels Rock Bar sent these text messages to Plaintiff and other putative class

members’ cellular telephone numbers who have their telephone numbers registered with the

national do-not-call registry.

       45.     Angels Rock Bar sent these messages to Plaintiff and other putative class members’

cellular telephone numbers after they have requested that Angels Rock Bar stop sending such text

messages or place their telephone numbers on its internal do-not-call list.

       46.     On information and belief, many of Angels Rock Bar’s text messages were sent

within 12 months of one or more prior text messages, and Angels Rock Bar lacks an adequate

system for preventing the transmission of numerous automated text messages to the same

telephone number.

       47.     Angels Rock Bar is aware that the above-described text messages are being sent to

consumers and businesses without their prior express consent, to consumers and businesses who

have registered their phone numbers on the do-not-call registry, and/or to consumers and

businesses who have expressly requested that Angels Rock Bar stop sending such text messages,

but Angels Rock Bar willfully continues to send them anyways.

       48.     Plaintiff and the putative class members have been substantially damaged by

Angels Rock Bar’s repeated text messages7 – their privacy was invaded; they were annoyed and



6
       On May 21, 2018, Plaintiff requested that Angels Rock Bar provide his attorneys with a copy of
       any written policies and procedures that Angels Rock Bar had established and implemented and/or
       instituted as of (1) August 1, 2014, (2) February 13, 2018, and (3) April 4, 2018, to ensure
       compliance with the TCPA, but Defendant failed to produce any such policies and procedures.
7
       See Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037, 1043 (9th Cir. 2017) (allegations of
       “[u]nsolicited phone calls or text messages … invade the privacy and disturb the solitude of their
       recipients” and are sufficient to confer Article III standing); Susinno v. Work Out World Inc., 862
       F.3d 346 (3rd Cir. 2017) (same); Williams v. zZounds Music, L.L.C., No. 16-cv-940 (W.D. Mo.


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inconvenienced; the repeated text messages intruded upon their seclusion and interfered with the

exclusive use of their property; they were charged out of pocket cellular airtime minutes for the

text messages and cellular data for services related to the text message content;8 the ATDS calls

intruded upon and occupied the capacity of the cellular phones of Plaintiff and the class members,

depleted and/or reduced the lifespan of their cellular phone batteries, 9 caused Plaintiff and the

class members to incur the costs of electricity to recharge their phones;10 and, on information and

belief, Angels Rock Bar’s repeated text messages have caused unwanted use, damage and/or

depletion of their property, including, but not limited to, a reduction in the lifespan of their LCD

screens, speakers, vibration motors, and other hardware and/or electronic components.

                     FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF HAND

       49.     At all times relevant hereto, Plaintiff Hand has paid a third-party provider for

cellular telephone service and cellular data service on his personal cellular telephone, which has

an area code specific to western Missouri, ending in “6900”.




       Feb. 28, 2017) (same) (citing Van Patten); Hunsinger v. Gordmans, Inc., No. 16-cv-162, 2016 WL
       7048895 (E.D. Mo. Dec. 5, 2016) (same).
8
       See In re Rules Implementing the Tel. Consumer Prot. Act of 1991, 23 FCC Red. 559, 562, ¶ 7
       (2008) (“wireless customers are charged for incoming calls whether they pay in advance or after
       the minutes are used.”); see also Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637 (7th Cir.
       2012) (recipients are damaged because they are charged “out of pocket” cellular airtime minutes);
       Lee v. Credit Mgmt., LP, 846 F. Supp. 2d 716, 729 (S.D. Tx. 2012) (Plaintiff’s statement that he
       pays a third-party provider for cellular phone services is sufficient to show that an individual was
       charged for the calls); Warnick v. Dish Network LLC, No. 12-cv-01952 (D. Co. Sep. 30, 2014)
       (“users of cellular telephone numbers are indeed charged for incoming calls, regardless of whether
       they incur any additional charges for such calls.”).
9
       See e.g., Apple Inc., Battery Servicing and Recycling, http://www.apple.com/batteries/service-and-
       recycling (“All rechargeable batteries have a limited lifespan … Your own battery’s lifespan will
       vary depending on how you use your device …”).
10
       See Mey v. Got Warranty, supra fn. 2, 193 F. Supp. 3d at 645-47 (Intangible harms include
       “intrusion upon and occupation of the plaintiff’s cell phone. … [and] intrusion upon another
       person’s computerized electronic equipment …” Tangible harms, including the cost of electricity,
       “[w]hile certainly small, [are] real, and the cumulative effect could be consequential.”).


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       50.     Plaintiff Hand never gave his cellular telephone number to Angels Rock Bar, and

never provided Angels Rock Bar with prior express consent, written or otherwise, to send

autodialed, advertising, and/or telemarketing text messages to his cellular telephone number.

       51.     On at least one occasion, years ago, Plaintiff Hand responded to Angels Rock Bar’s

text messages by texting the word “STOP”, however, Angels Rock Bar continued to send text

messages to Plaintiff’s cellular telephone number.

       52.     On multiple occasions, Angels Rock Bar and/or its agents caused text messages to

be sent, automatically and without human intervention, to Plaintiff’s cell phone. The text messages

contained Angels Rock Bar’s brand name and location, promoted specials and events at Angels

Rock Bar, and/or encouraged Plaintiff to visit Angels Rock Bar with his friends or associates.

       53.     The text messages sent by Angels Rock Bar to Plaintiff were made for a commercial

purpose and are advertisements and/or constitute telemarketing as defined by the TCPA.

       54.     Angels Rock Bar did not provide Plaintiff and the class members with notice that

it intended to send multiple autodialed, advertising, and/or telemarketing text messages to their

cellular telephone numbers; and Plaintiff and the class members never provided express consent

in writing, or otherwise, for Angels Rock Bar to send such text messages to their cell phones.

       55.     On June 7, 2012, Plaintiff registered his wireless number ending in 6900 with the

national do-not-call registry and received confirmation that his registration would be effective as

of July 8, 2012.

       56.     Since the effective date of Plaintiff’s registration on the national do-not-call list,

and between July 30, 2014 and April 4, 2018, Angels Rock Bar has sent numerous advertising

and/or telemarketing text messages to Plaintiff, many of which were within 12 months of one or

more prior text messages.



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                                  CLASS ACTION ALLEGATIONS

       57.     Plaintiff restates and incorporates by reference all paragraphs of this Petition,

including all subparagraphs thereof.

       58.     As to Count I for violation of the TPCA (the “227(b)(1)(A)(iii) Class”), Plaintiff

brings this action on behalf of himself and on behalf of a putative class defined as:

               All persons and entities within the United States to whom Angels
               Rock Bar (or a third party on Angels Rock Bar’s behalf) sent a text
               message to their cellular or wireless telephone, promoting special
               pricing or events at Angels Rock Bar, between July 30, 2014 and
               April 4, 2018.

       59.     As to Count II for violation of the TPCA (the “64.1200(d) Class”), Plaintiff brings

this action on behalf of himself and on behalf of a putative class defined as:

               All persons within the United States to whom, between July 30,
               2014 and April 4, 2018, Angels Rock Bar (or a third party on Angels
               Rock Bar’s behalf) sent more than one text message promoting
               special pricing or events at Angels Rock Bar, within any twelve-
               month period.

       60.     As to Count III for violation of the TPCA (the “227(c) Class”), Plaintiff brings this

action on behalf of himself and on behalf of a putative class defined as:

               All persons within the United States whose phone numbers were
               registered on the national do-not-call registry and to whom, between
               July 30, 2014 and April 4, 2018, Angels Rock Bar (or a third party
               on Angels Rock Bar’s behalf) sent more than one text message
               promoting special pricing or events at Angels Rock Bar, within any
               twelve-month period.

       61.     As to Count IV for violation of the TCPA (the “64.1200(d)(3) Class”), Plaintiff

brings this action on behalf of himself and on behalf of a putative class defined as:

               All persons within the United States who requested Defendant to
               stop calling or texting them or place their telephone numbers on its
               internal do-not-call list and to whom, between July 30, 2014 and
               April 4, 2018, Angels Rock Bar (or a third party on Angels Rock
               Bar’s behalf) sent any text message promoting special pricing or


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              events at Angels Rock Bar.

       62.    Excluded from the above-defined classes are Angels Rock Bar, any entity in which

Angels Rock Bar has a controlling interest, Angels Rock Bar’s officers, directors, and employees,

Angels Rock Bar’s counsel, any persons or entities who have previously settled a TCPA claim

with Angels Rock Bar, the Court and Court personnel, and Plaintiff’s counsel.

       63.    Numerosity – Mo. R. Civ. P. 52.08(a)(1); Fed. R. Civ. P. 23(a)(1). Plaintiff does

not know how many members are in the putative class but believes them to be in the tens of

thousands, if not more. On information and belief, the number of class members is so numerous

that their individual joinder is impracticable. The precise number of putative class members and

their phone numbers can be obtained from information and records in the possession and control

of Angels Rock Bar or third parties acting on Angels Rock Bar’s behalf.

       64.    Existence and Predominance of Common Questions of Law and Fact – Mo. R.

Civ. P. 52.08(a)(2) & 52.08(b)(3); Fed. R. Civ. P. 23(a)(2) & 23(b)(3). Common questions of

law or fact exist as to all members within the putative class and predominate over any questions

solely affecting any individual member. The predominating common legal and factual questions,

each of which may also be certified under Mo. R. Civ. P. 52.08(c)(4) or Fed. R. Civ. P. 23(c)(4),

include the following:

              (a)        Whether Angels Rock Bar and/or its agents used an automatic telephone

                         dialing system to send text messages;

              (b)        Whether the equipment used by Angels Rock Bar, or a third party on Angels

                         Rock Bar’s behalf, has the capacity to send text messages automatically,

                         i.e., without human intervention;

              (c)        Whether Angels Rock Bar’s text messages are advertisements;



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     (d)   Whether Angels Rock Bar’s text messages constitute telemarketing;

     (e)   Whether Angels Rock Bar requires its customers provide their telephone

           numbers as a condition of providing goods and services;

     (f)   Whether Angels Rock Bar advised Plaintiff and the class members that it

           intended to send autodialed, advertising, and/or telemarketing text messages

           to their cellular telephone numbers;

     (g)   Whether Angels Rock Bar obtained the prior express consent, written or

           otherwise, to send autodialed, advertising, and/or telemarketing text

           messages to the cellular telephone numbers of Plaintiff and the class

           members;

     (h)   Whether Angels Rock Bar’s text messages were sent for an emergency

           purpose;

     (i)   Whether Angels Rock Bar’s text messages were sent willfully or

           knowingly;

     (j)   Whether Angels Rock Bar (i) established and implemented written

           procedures to comply with the national do-not-call rules; (ii) trained its

           personnel in procedures established pursuant to the national do-not-call

           rules; (iii) maintained a list of telephone numbers Angels Rock Bar may not

           contact; (iv) employed a version of the national do-not-call registry obtained

           from the administrator of the registry no more than 31 days prior to the date

           any call or text is made, and (v) maintained records documenting this

           process;

     (k)   Whether Angels Rock Bar (i) established and implemented written



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                       procedures to comply with the internal do-not-call rules; (ii) trained its

                       personnel in procedures established pursuant to the internal do-not-call

                       rules; (iii) maintained an internal list of telephone numbers Angels Rock

                       Bar may not contact; (iv) employed a version of the internal do-not-call list

                       containing numbers updated no more than 30 days prior to the date any call

                       is made, and (v) maintained records documenting this process; and/or

               (l)     Whether, and to what extent, class members are entitled to equitable relief,

                       including declaratory relief, a preliminary injunction, and/or permanent

                       injunction.

       65.     Typicality – Mo. R. Civ. P. 52.08(a)(3); Fed. R. Civ. P. 23(a)(3). Plaintiff’s

claims are typical of the claims of the putative classes he seeks to represent. The factual and legal

bases of Angels Rock Bar’s liability to Plaintiff is the same for all putative class members: (i)

Angels Rock Bar violated the TCPA by using an automatic telephone dialing system to send text

messages without obtaining prior express written consent; (ii) Angels Rock Bar violated the TCPA

by sending multiple promotional text messages without complying with the requirements of 47

U.S.C. § 227(c), 47 C.F.R. § 64.1200(c) and/or 47 C.F.R. § 64.1200(d).

       66.     Adequacy of Representation – Mo. R. Civ. P. 52.08(a)(4); Fed. R. Civ. P.

23(a)(4). Plaintiff will fairly and adequately protect the interests of the putative class members.

Plaintiff has no interests that might conflict with the interests of the putative class members.

Plaintiff will pursue the claims vigorously, and Plaintiff has retained counsel competent and

experienced in TCPA class actions and complex litigation.

       67.     Superiority – Mo. R. Civ. P. 52.08(b)(3); Fed. R. Civ. P. 23(b)(3). A class action

is superior to all other available means for the fair and efficient adjudication of this controversy.



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The damages or other financial detriment suffered by individual class members is small compared

with the burden and expense that would be entailed by individual litigation of their claims against

Angels Rock Bar. It would thus be virtually impossible for class members, on an individual basis,

to obtain effective redress for the wrongs done to them. Furthermore, even if class members could

afford such individualized litigation, the court system could not. Individualized litigation would

create the danger of inconsistent or contradictory judgments arising from the same set of facts.

Individualized litigation would also increase the delay and expense to all parties and the court

system from the issues raised by this action. By contrast, the class action device provides the

benefits of adjudication of these issues in a single proceeding, economies of scale, and

comprehensive supervision by a single court, and presents no unusual management difficulties

under the circumstances here.

                                        COUNT I
                    VIOLATIONS OF THE TCPA: 47 U.S.C. § 227(b)(1)(A)(iii)

       68.     Plaintiff restates and incorporates by reference all paragraphs of this Petition,

including all subparagraphs thereof.

       69.     Angels Rock Bar and/or its agents employed an ATDS to send non-emergency text

messages, automatically and without human intervention, to the cellular or wireless telephones of

Plaintiff and the members of 227(b)(1)(A)(iii) Class.

       70.     Angels Rock Bar requested, and obtained, the cellular telephone numbers of many

of the 227(b)(1)(A)(iii) Class members as a condition to providing its goods and services.

       71.     Angels Rock Bar never obtained prior express consent in writing, or otherwise,

advising Plaintiff or the members of the 227(b)(1)(A)(iii) Class that it intended to send autodialed,

advertising, and/or telemarketing text messages to their cellular or wireless telephones.

       72.     As a result of Angels Rock Bar’s conduct and pursuant to Section 227(b)(3) of the


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TCPA, Plaintiff and the 227(b)(1)(A)(iii) Class were harmed and are entitled to a minimum of

$500 in damages for each unlawful text message.

       73.     Plaintiff and the 227(b)(1)(A)(iii) Class are also entitled to an injunction against

future calls. 47 U.S.C. § 227(b)(3).

       74.     Angels Rock Bar’s text messages were willful and knowing, in that Angels Rock

Bar knew it was obtaining and storing cellular telephone numbers and employing equipment that

would send autodialed, advertising, and/or telemarketing text messages to such numbers; Angels

Rock Bar intended that such equipment would in fact send automated text messages containing its

brand name and location, and promoting specials and events at Angels Rock Bar; and Angels Rock

Bar knew that it had not obtained prior express consent, in writing or otherwise, from Plaintiff or

any of the putative class members to send such text messages.

       75.     “Willful … means that the violator knew that he was doing the act in question. …

A violator need not know that his action or inaction constitutes a violation; ignorance of the law is

not a defense or mitigating circumstance.” In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470

& fn. 86 (May 14, 2007) (citations omitted).

       76.     Accordingly, the Court should treble the amount of statutory damages available to

Plaintiff and the 227(b)(1)(A)(iii) Class and award $1,500 for each text message sent in violation

of the TCPA.

       WHEREFORE, Plaintiff, individually and on behalf the 227(b)(1)(A)(iii) Class, seeks

$1,500 per violation of the TCPA; a declaration that Angels Rock Bar’s telemarketing methods,

acts and practices herein violate the TCPA, 47 U.S.C. § 227, et seq.; an injunction prohibiting

Angels Rock Bar from continuing to engage in such unlawful methods, acts, and practices; and

attorneys’ fees and costs.



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                                      COUNT II
             VIOLATIONS OF THE TCPA: 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)

       77.       Plaintiff restates and incorporates by reference all paragraphs of this Petition,

including all subparagraphs thereof.

       78.       Angels Rock Bar’s text messages were made for a commercial purpose, in that they

contain its brand name and location, they promote specials and events at Angels Rock Bar, and/or

they encourage Plaintiff and the putative class members to visit Angels Rock Bar with their friends

or associates.

       79.       Angels Rock Bar sent more than one advertising and/or telemarketing text message

within any twelve-month period to Plaintiff and the 64.1200(d) Class even though Angels Rock

Bar did not first institute procedures for initiating telemarketing calls or text messages that meet

(or exceed) the following minimum standards:

                 •      Written policies and procedures, available upon demand, for
                        maintaining a do-not-call list;

                 •      Policies and procedures for the training of personnel engaged in any
                        aspect of telemarketing, on the existence and use of the do-not-call
                        list;

                 •      Policies and procedures for the recording of any request not to
                        receive calls, at the time the request is made, including the
                        subscriber’s name, if provided, and telephone number, and honoring
                        any such requests within a reasonable time from the date such
                        request is made.

                 •      Policies and procedures for employing a version of the internal do-
                        not-call list containing numbers updated no more than 30 days prior
                        to the date any call is made;

                 •      Policies and procedures for providing the called party with the name
                        of the individual caller, the name of the person or entity on whose
                        behalf the call is being made, and a telephone number or address at
                        which the person or entity may be contacted; and

                 •      Policies and procedures for maintaining records documenting this


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                       process, for a period of not less than 5 years.

        80.     On information and belief, Angels Rock Bar is not a tax-exempt nonprofit

organization and is therefore required to comply with the minimum standards set forth in 47 C.F.R.

§ 64.1200(d). See 47 C.F.R. § 64.1200(d)(7).

        81.     On May 21, 2018, Plaintiff demanded a copy of Angels Rock Bar’s written policies

and procedures for ensuring compliance with the TCPA, but Defendant did not respond to

Plaintiff’s request.

        82.     On information and belief, Angels Rock Bar did not implement any of the minimum

standards required by 47 C.F.R. § 1200(d)(1)-(6).

        83.     Plaintiff Hand and many of the class members requested that Angels Rock Bar stop

sending advertising and/or telemarketing text messages to their telephone numbers or place their

numbers on Angels Rock Bar’s internal do-not-call list, but Angels Rock Bar failed to honor these

requests.

        84.     Angels Rock Bar’s text messages do not sufficiently identify the name of the

individual caller, and do not provide a (working) telephone number or address at which the person

or entity may be contacted.

        85.     As a result of Angels Rock Bar’s conduct and pursuant to Section 227(c)(5) of the

TCPA, Plaintiff and the 64.1200(d) Class were harmed and are entitled to a minimum of $500 in

damages for each unlawful text message.

        86.     Plaintiff and the 64.1200(d) Class are also entitled to an injunction against future

calls. 47 U.S.C. § 227(c)(5).

        87.     Angels Rock Bar’s text messages were willful and knowing, in that Angels Rock

Bar knew it was sending advertising and/or telemarketing text messages to the cellular telephone



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numbers of Plaintiff and the class members without first implementing procedures required by 47

C.F.R. § 64.1200(d), but Angels Rock Bar chose to send such text messages anyways.

        88.      “Willful … means that the violator knew that he was doing the act in question. …

A violator need not know that his action or inaction constitutes a violation; ignorance of the law is

not a defense or mitigating circumstance.” In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470

& fn. 86 (May 14, 2007) (citations omitted).

        89.      Accordingly, the Court should treble the amount of statutory damages available to

Plaintiff and the 64.1200(d) Class and award $1,500 for each text message sent in violation of the

TCPA.

        WHEREFORE, Plaintiff, individually and on behalf the 64.1200(d) Class, seeks $1,500

per violation of the TCPA; a declaration that Angels Rock Bar’s telemarketing methods, acts and

practices herein violate the TCPA, 47 U.S.C. § 227, et seq.; an injunction prohibiting Angels Rock

Bar from continuing to engage in such unlawful methods, acts, and practices; and attorneys’ fees

and costs.

                                        COUNT III
              VIOLATIONS OF THE TCPA: 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2)

        90.      Plaintiff restates and incorporates by reference all paragraphs of this Petition,

including all subparagraphs thereof.

        91.      Angels Rock Bar’s text messages were made for a commercial purpose, in that they

contain its brand name and location, they promote specials and events at Angels Rock Bar, and/or

they encourage Plaintiff and the putative class members to visit Angels Rock Bar with their friends

or associates.

        92.      Angels Rock Bar sent more than one advertising and/or telemarketing text message

within any twelve-month period to Plaintiff and the 227(c) Class after their telephone numbers had


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been registered on the national do-not-call registry for more than 31 days.

        93.     These advertising and/or telemarketing text messages were made even though

Angels Rock Bar did not obtain prior express consent in writing, or otherwise, to send such text

messages to Plaintiff or the 227(c) Class.

        94.     As a result of Angels Rock Bar’s conduct and pursuant to Section 227(c)(5) of the

TCPA, Plaintiff and the 227(c) Class were harmed and are entitled to a minimum of $500 in

damages for each violation.

        95.     Plaintiff and the 227(c) Class are also entitled to an injunction against future calls.

47 U.S.C. § 227(c)(5).

        96.     On May 21, 2018, Plaintiff demanded a copy of Angels Rock Bar’s written policies

and procedures for ensuring compliance with the TCPA, but Defendant did not respond to

Plaintiff’s request.

        97.     On information and belief, Angels Rock Bar failed to (i) establish and implement

written procedures to comply with the national do-not-call rules; (ii) train its personnel in

procedures established pursuant to the national do-not-call rules; (iii) maintain a list of telephone

numbers Angels Rock Bar may not contact; (iv) employ a version of the national do-not-call

registry obtained from the administrator of the registry no more than 31 days prior to the date any

call is made, and (v) maintain records documenting this process.

        98.     On information and belief, Angels Rock Bar failed to honor the national do-not-

call registry, failed to provide “an interactive opt-out mechanism” by which Plaintiff and the 227(c)

Class could opt out of future calls, and failed to maintain an “automated, interactive voice- and/or

key press-activated opt-out mechanism” by which Plaintiff and the 227(c) Class could call a

separate toll-free number and add their numbers to Angels Rock Bar’s internal do-not-call list.



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       99.       Angels Rock Bar’s text messages were willful and knowing, in that Angels Rock

Bar knew it was sending advertising and/or telemarketing text messages to the cellular telephone

numbers of Plaintiff and the class members registered on the national do-not-call list, but Angels

Rock Bar chose to send such text messages anyways.

       100.      “Willful … means that the violator knew that he was doing the act in question. …

A violator need not know that his action or inaction constitutes a violation; ignorance of the law is

not a defense or mitigating circumstance.” In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470 n.

86 (May 14, 2007) (citations omitted).

       101.      Accordingly, the Court should treble the amount of statutory damages available to

Plaintiff and the 227(c) Class and award $1,500 for each violation of the TCPA.

       WHEREFORE, Plaintiff, individually and on behalf the 227(c) Class, seeks $1,500 per

violation of the TCPA; a declaration that Angels Rock Bar’s methods, acts and practices violate

the TCPA, 47 U.S.C. § 227, et seq.; an injunction prohibiting Angels Rock Bar from continuing

to engage in such unlawful methods, acts, and practices; and attorneys’ fees and costs.

                                       COUNT IV
             VIOLATIONS OF THE TCPA: 47 U.S.C. § 227(c); 47 C.F.R. 64.1200(d)(3)

       102.      Plaintiff restates and incorporates by reference all paragraphs of this Petition,

including all subparagraphs thereof.

       103.      Angels Rock Bar’s text messages were made for a commercial purpose, in that they

contain its brand name and location, they promote specials and events at Angels Rock Bar, and/or

they encourage Plaintiff and the putative class members to visit Angels Rock Bar with their friends

or associates.

       104.      Angels Rock Bar sent one or more advertising and/or telemarketing text messages

to Plaintiff and the 64.1200(d)(3) Class after they requested that Angels Rock Bar not contact them


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or place their telephone numbers on its internal do-not-call list.

        105.    On May 21, 2018, Plaintiff demanded a copy of Angels Rock Bar’s written policies

and procedures for ensuring compliance with the TCPA, but Defendant did not respond to

Plaintiff’s request.

        106.    As a result of Angels Rock Bar’s conduct and pursuant to Section 227(c)(5) of the

TCPA, Plaintiff and the 64.1200(d)(3) Class were harmed and are entitled to a minimum of $500

in damages for each unlawful text message.

        107.    Plaintiff and the 64.1200(d)(3) Class are also entitled to an injunction against future

calls. 47 U.S.C. § 227(c)(5).

        108.    Angels Rock Bar’s text messages were willful and knowing, in that Angels Rock

Bar knew it was sending advertising and/or telemarketing text messages to the cellular telephone

numbers of Plaintiff and the class members who had requested not to receive such text messages,

but Angels Rock Bar chose to send such text messages anyways.

        109.    “Willful … means that the violator knew that he was doing the act in question. …

A violator need not know that his action or inaction constitutes a violation; ignorance of the law is

not a defense or mitigating circumstance.” In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470

& fn. 86 (May 14, 2007) (citations omitted).

        110.    Accordingly, the Court should treble the amount of statutory damages available to

Plaintiff and the 64.1200(d)(3) Class and award $1,500 for each text message sent in violation of

the TCPA.

        WHEREFORE, Plaintiff, individually and on behalf the 64.1200(d)(3) Class, seeks $1,500

per violation of the TCPA; a declaration that Angels Rock Bar’s methods, acts and practices violate

the TCPA, 47 U.S.C. § 227, et seq.; an injunction prohibiting Angels Rock Bar from continuing



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to engage in such unlawful methods, acts, and practices; and attorneys’ fees and costs.

                                           JURY DEMAND

       Plaintiff demands a trial by jury of all claims that are so triable.


Dated: July 30, 2018                                   Respectfully submitted,

                                                        /s/ Bill Kenney
                                                       William C. Kenney Mo. Bar No. 63001
                                                       BILL KENNEY LAW FIRM, LLC
                                                       1100 Main Street, Suite 1800
                                                       Kansas City, MO 64105
                                                       Telephone: (816) 842-2455
                                                       Facsimile: (816) 474-8899
                                                       Email: bkenney@billkenneylaw.com

                                                       and

                                                       Ari N. Rodopoulos Mo. Bar No. 58777
                                                       WOOD LAW FIRM, LLC
                                                       1100 Main Street, Suite 1800
                                                       Kansas City, MO 64105-5171
                                                       T: (816) 256-3582
                                                       F: (816) 337-4243
                                                       Email: ari@woodlaw.com

                                                       Attorneys for Plaintiff and all others
                                                       similarly situated




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                                    1816-CV19818 - J.T. HAND V ARB KC, LLC (E-CASE)


                                   This information is provided as a service and is not considered an official court record.
Click here to eFile on Case                 Sort Date Entries:                                Descending       Display Options:
Click here to Respond to Selected Documents                                                   Ascending


01/28/2019           Case Mgmt Conf Scheduled
                       Scheduled For: 02/25/2019; 9:00 AM ; JOEL P FAHNESTOCK; Jackson - Kansas City
                     Case Management Ordered
                     Case Mgmt Conf Held
                       Scheduled For: 01/28/2019; 9:00 AM ; JOEL P FAHNESTOCK; Jackson - Kansas City

01/10/2019           Summons Issued-Circuit
                     Document ID: 19-SMCC-353, for ARB KC, LLC.

01/04/2019           Alias Summons Requested
                     Request for Alias Summons.
                        Filed By: WILLIAM CHARLES KENNEY
                        On Behalf Of: J.T. HAND

11/26/2018           Case Mgmt Conf Scheduled
                       Associated Entries: 01/28/2019 - Case Mgmt Conf Held
                       Scheduled For: 01/28/2019; 9:00 AM ; JOEL P FAHNESTOCK; Jackson - Kansas City
                     Case Management Ordered
                     Case Mgmt Conf Held
                       Scheduled For: 11/26/2018; 9:00 AM ; JOEL P FAHNESTOCK; Jackson - Kansas City

08/03/2018           Correspondence Sent
                     Mailed Notice and Copy of Petition to Attorney General by First Class Mail on August 3, 2018
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-7963, for ARB KC, LLC.
                     Case Mgmt Conf Scheduled
                       Associated Entries: 11/26/2018 - Case Mgmt Conf Held
                       Scheduled For: 11/26/2018; 9:00 AM ; JOEL P FAHNESTOCK; Jackson - Kansas City

07/30/2018           Request for Jury Trial Filed
                       Filed By: WILLIAM CHARLES KENNEY
                     Judge Assigned
                     Filing Info Sheet eFiling
                         Filed By: WILLIAM CHARLES KENNEY




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                                                                              1
                                                                                       2/11/2019, 7:39 AM



                   Summ Req-Circuit Pers Serv
                   Request for Service.
                     Filed By: WILLIAM CHARLES KENNEY
                     On Behalf Of: J.T. HAND
                   Pet Filed in Circuit Ct
                   Class Action Petition for Damages.
Case.net Version 5.14.0.6                           Return to Top of Page     Released 12/31/2018




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                                                                               1816-CV19818

   IN THE 16TH JUDICIAL CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                            AT KANSAS CITY

 J.T. HAND, individually and on behalf
 of all others similarly situated,

                           Plaintiff,                 Case No.:

 vs.

 ARB KC, LLC                                          Division:
 d/b/a ANGELS ROCK BAR

                           Defendant.


                                 SERVICE INSTRUCTIONS

TO:    CLERK OF THE COURT

       Plaintiff requests that the Clerk of the Court prepare a summons for Defendant in the above-

captioned cause of action, so that the Cole County Sheriff's Office can serve Defendant’s

Registered Agent as follows:


       ARB KC, LLC
       R/A: CSC-Lawyers Incorporating Service Company
       221 Bolivar Street
       Jefferson City, MO 65101




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                                                                                                  Electronically Filed - Jackson - Kansas City - July 30, 2018 - 05:19 PM
Dated: July 30, 2018                              Respectfully submitted,

                                                   /s/ Bill Kenney
                                                  William C. Kenney Mo. Bar No. 63001
                                                  BILL KENNEY LAW FIRM, LLC
                                                  1100 Main Street, Suite 1800
                                                  Kansas City, MO 64105
                                                  Telephone: (816) 842-2455
                                                  Facsimile: (816) 474-8899
                                                  Email: bkenney@billkenneylaw.com

                                                  and

                                                  Ari N. Rodopoulos Mo. Bar No. 58777
                                                  WOOD LAW FIRM, LLC
                                                  1100 Main Street, Suite 1800
                                                  Kansas City, MO 64105-5171
                                                  T: (816) 256-3582
                                                  F: (816) 337-4243
                                                  Email: ari@woodlaw.com

                                                  Attorneys for Plaintiff and all others
                                                  similarly situated


                               CERTIFICATE OF SERVICE

       I hereby certify that, on July 30, 2018, the foregoing document was electronically filed

with the Court’s Electronic Filing System and will be served electronically on all registered

attorneys of record, with a copy to be served on Defendant’s registered agent with the summons

and Petition.

                                                   /s/ Bill Kenney
                                                  William C. Kenney




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              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 1816-CV19818
 JOEL P FAHNESTOCK
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 J.T. HAND                                                          WILLIAM CHARLES KENNEY
                                                                    1100 Main Street
                                                                    SUITE 1800
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 ARB KC, LLC                                                        415 E 12th
 DBA: ANGELS ROCK BAR                                               KANSAS CITY, MO 64106
 Nature of Suit:
 CC Other Tort                                                                                                                        (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: ARB KC, LLC
                                      DBA: ANGELS ROCK BAR
  R/A CSC-LAWYERS INC SERVICE CO
  221 BOLIVAR ST
  JEFFERSON CITY, MO 65101

         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    03-AUG-2018                                _________________________________________
                                                        Date                                                    Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                      _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.



OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 18-SMCC-7963 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                     Case 4:19-cv-00108-BCW Document 1-1 Filed 02/14/19                                    Page
                                                                                                   54.13, and 54.20; 30  of –35
                                                                                                                     506.120  506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

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                                                     Circuit Court of Jackson County




           Case 4:19-cv-00108-BCW
Revised 7/3/13                           Document
                       Service Information ‐ Attorney 1-1 Filed 02/14/19 Page 31 of 35
                                                                                                    Electronically Filed - Jackson - Kansas City - January 04, 2019 - 07:51 PM
   IN THE 16TH JUDICIAL CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                            AT KANSAS CITY

 J.T. HAND, individually and on behalf
 of all others similarly situated,

                          Plaintiff,                 Case No.: 1816-CV19818

 vs.
                                                     Division:   9
 ARB KC, LLC
 d/b/a ANGELS ROCK BAR,

                          Defendant.


                            REQUEST FOR ALIAS SUMMONS

TO:    CLERK OF THE COURT

       Plaintiff requests that the Clerk of the Court issue an alias summons for Defendant in the

above-captioned cause of action, so that the Cole County Sheriff's Office can serve Defendant’s

Registered Agent as follows:


       ARB KC, LLC
       R/A: CSC-Lawyers Incorporating Service Company
       221 Bolivar Street
       Jefferson City, MO 65101




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                                                                                                    Electronically Filed - Jackson - Kansas City - January 04, 2019 - 07:51 PM
Dated: January 4, 2018                              Respectfully submitted,

                                                    /s/ Bill Kenney
                                                   William C. Kenney Mo. Bar No. 63001
                                                   BILL KENNEY LAW FIRM, LLC
                                                   1100 Main Street, Suite 1800
                                                   Kansas City, MO 64105
                                                   Telephone: (816) 842-2455
                                                   Facsimile: (816) 474-8899
                                                   Email: bkenney@billkenneylaw.com
                                                    Attorneys for Plaintiff and all others
                                                    similarly situated


                               CERTIFICATE OF SERVICE

       I hereby certify that, on January 4, 2019, the foregoing document was electronically filed

with the Court’s Electronic Filing System and will be served electronically on all registered

attorneys of record, with a copy to be served on Defendant’s registered agent with the summons

and all pleadings.

                                                     /s/ Bill Kenney
                                                    William C. Kenney




                                               2
       Case 4:19-cv-00108-BCW Document 1-1 Filed 02/14/19 Page 33 of 35
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 1816-CV19818
 JOEL P FAHNESTOCK
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 J.T. HAND                                                          WILLIAM CHARLES KENNEY
                                                                    1100 Main Street
                                                                    SUITE 1800
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 ARB KC, LLC                                                        415 E 12th
 DBA: ANGELS ROCK BAR                                               KANSAS CITY, MO 64106
 Nature of Suit:
 CC Other Tort                                                                                                                        (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: ARB KC, LLC
                                      DBA: ANGELS ROCK BAR
  R/A CSC-LAWYERS INC SERVICE CO
  221 BOLIVAR ST
  JEFFERSON CITY, MO 65101

         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    10-JAN-2019                                _________________________________________
                                                        Date                                                    Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                      _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.



OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 19-SMCC-353 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                     Case 4:19-cv-00108-BCW Document 1-1 Filed 02/14/19                                    Page
                                                                                                   54.13, and 54.20; 34  of –35
                                                                                                                     506.120  506.140, and 506.150 RSMo
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                                                     Circuit Court of Jackson County




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